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              4                         UNITED STATES DISTRICT COURT
                                       NORTHERN DISTRICT OF ILLINOIS
              5                               EASTERN DIVISION
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              7
                  UNITED STATES OF AMERICA,                Case No. 1:09-cr-00673
              8
                     Plaintiff,                            Chicago, Illinois
              9                                            December 2, 2009
                           v.                              Motion Hearing
            10
                  RON COLLINS,
            11
                    Defendant.
            12    -------------------------------
            13
            14                         TRANSCRIPT OF MOTION HEARING
                                 BEFORE THE HONORABLE VIRGINIA M. KENDALL
            15                         UNITED STATES DISTRICT JUDGE
            16
            17    APPEARANCES:
            18
            19    For the Government:         Office of the U.S. Attorney
                                              By: Lindsay C. Jenkins
            20                                219 S. Dearborn St., 5th Fl.
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            21                                (312) 353-5300
            22
            23
            24
            25



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   2
   3   APPEARANCES:
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       Proceedings recorded by mechanical stenography; transcript
 25    produced by notereading.



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01:33:24      1               (Commenced at 1:33 p.m.)
01:33:24      2               THE CLERK: 09CR673, United States versus Collins.
01:33:33      3               MS. JENKINS: Good afternoon, your Honor. Lindsay
01:33:34      4   Jenkins, J-e-n-k-i-n-s, on behalf of the United States.
01:33:38      5               THE COURT: Good afternoon, Ms. Jenkins.
01:33:40      6               MR. MILNER: Good afternoon, your Honor. Kevin
01:33:41      7   Milner, M-i-l-n-e-r, on behalf of the defendant, who is
01:33:46      8   present before the Court, Mr. Collins.
01:33:47      9               THE COURT: Good afternoon, Mr. Milner.
01:33:48    10                And good afternoon, Mr. Collins.
01:33:49    11                THE DEFENDANT: (Nodding.)
01:33:50    12                THE COURT: Okay. We have two things up. I know
01:33:52    13    there's a motion to reconsider the issue of detention, and
01:33:55    14    then there's also the motion to be permitted contact visits.
01:34:00    15                Let's address the second one first. I didn't know
01:34:04    16    anything about the contact visits limitation. I'm not sure I
01:34:08    17    have any control over the contact visits limitation, other
01:34:11    18    than you saying that I can order them to give them to him.
01:34:14    19    But for what reason and what's the policy?
01:34:17    20                MR. MILNER: Basically, in my conversations, your
01:34:20    21    Honor, I spoke to the sergeant over there and then, also, he
01:34:25    22    directed me to the website. And both he and the website said
01:34:27    23    that it is available to the inmates, but only upon order of
01:34:30    24    the Court. There was no criteria listed as to why the Court
01:34:34    25    should or shouldn't do that, other than just that it's



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01:34:36      1   obviously a more preferable procedure for the inmate. They
01:34:41      2   didn't say anything about any other information.
01:34:44      3               THE COURT: Do you --
01:34:45      4               MR. MILNER: They said if you grant the order -- or
01:34:47      5   if you grant my request, they'll execute the order.
01:34:49      6               THE COURT: So right now it's a procedure where he's
01:34:53      7   videotaped -- essentially closed-circuit TV? And if he gets
01:34:57      8   contact visits, he's between the glass partition?
01:35:00      9               MR. MILNER: Yes.
01:35:00    10                THE COURT: And a court order has to go into place in
01:35:04    11    order to allow him to have that?
01:35:05    12                MR. MILNER: Yes.
01:35:06    13                THE COURT: I don't understand.
01:35:07    14                MR. MILNER: My exact words, your Honor. But I was
01:35:09    15    clear with them that I wanted to make sure that I was
01:35:11    16    providing you with accurate information, and it's as simple as
01:35:14    17    that. They will not do it without a court order.
01:35:18    18                It's just a little more work for them to go through
01:35:20    19    the contact visit as I am describing it, as opposed to the
01:35:22    20    closed circuit way. They have a volume of prisoners there, so
01:35:22    21    they just simply prefer not to do it, if they don't have to.
01:35:27    22                THE COURT: What's your insights into this, any?
01:35:29    23                MS. JENKINS: Honestly, your Honor, the Government
01:35:30    24    takes no position. I apologize, but we just -- there's
01:35:34    25    nothing -- there's no position for us to take in terms of --



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01:35:37      1               THE COURT: Well, normally I never order the prison
01:35:40      2   to do anything --
01:35:40      3               MS. JENKINS: Right.
01:35:41      4               THE COURT: -- because it's their procedures and
01:35:43      5   their programs. And it's just an odd setup that they would
01:35:47      6   say, Well, okay, you can have these, if you get the court
01:35:51      7   order.
01:35:51      8               You know, let me look into it a little further. I
01:35:54      9   might even make a call just to see what the situation is.
01:35:58    10                MR. MILNER: That would be fine. You know, with the
01:36:00    11    MCC, I know it's always been that way and we wouldn't ask the
01:36:01    12    Court to interfere --
01:36:01    13                THE COURT: Right.
01:36:02    14                MR. MILNER: -- nor do they want Court interference.
01:36:04    15                I think this might be slightly different because
01:36:07    16    we're dealing with the county jails that are contracting with
01:36:09    17    the federal government, so it's a little different from jail
01:36:11    18    to jail. If your Honor could possibly inquire?
01:36:13    19                THE COURT: Okay. I'll take a look at it.
01:36:15    20                Okay. Now, let's look at the issue of the
01:36:17    21    reconsideration. I've read both of your written filings. And
01:36:21    22    I know that, Mr. Milner, you've set forth some reasons why you
01:36:26    23    think I should reconsider. And primarily you focus on some of
01:36:29    24    the statements that the Court made in its findings, but I'll
01:36:32    25    let you orally make your motion now.



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01:36:34      1               MR. MILNER: Yes, your Honor. From my review of the
01:36:36      2   initial hearing, what seemed to me and quite properly was that
01:36:40      3   there was a heavy emphasis, at least initially, on
01:36:44      4   establishing the probable cause. In other words, the evidence
01:36:47      5   to suggest that Mr. Collins would be guilty of the crime.
01:36:50      6               We are not contesting that for purposes of the bond
01:36:53      7   hearing. And as the Court well knows, this wouldn't be the
01:36:55      8   time to do that anyway. The only issue is not whether or not
01:36:58      9   Mr. Collins is guilty or has done other things in the past,
01:37:02    10    but simply whether or not there are any conditions or
01:37:05    11    combination of conditions that this Court can impose, which
01:37:09    12    would satisfy the Court that despite whatever the Court may
01:37:13    13    think about Mr. Collins' background, the Court could still
01:37:16    14    find some reasonable assurance that he's going to be in court
01:37:19    15    when he's supposed to and he's not going to be out breaking
01:37:22    16    the law and being a danger to the community.
01:37:24    17                THE COURT: But what do you think I did improperly in
01:37:26    18    my detention? What did I emphasize too much or what new
01:37:30    19    information do you have that would change my mind --
01:37:32    20                MR. MILNER: A few things.
01:37:33    21                THE COURT: -- about that first ruling?
01:37:36    22                MR. MILNER: Okay. First, your Honor, if I may, in
01:37:37    23    the initial -- and this I consider to be relatively minor, but
01:37:42    24    in response to your Honor's question -- there was a mistake
01:37:45    25    regarding -- the Court had seemed to take some umbrage with



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01:37:48      1   the fact that family members were not aware of exactly where
01:37:52      2   Mr. Collins was sleeping or how many children he had or
01:37:55      3   whether or not he was having contact --
01:37:57      4               THE COURT: I wasn't taking umbrage with their
01:38:00      5   statements. It was just that it put his credibility into
01:38:05      6   question regarding the statements he gave to the probation
01:38:08      7   officer versus what they told the probation officer, which
01:38:10      8   made the Court uncomfortable that he wasn't being candid with
01:38:14      9   the Probation Office.
01:38:16    10                MR. MILNER: Understood, your Honor. And I guess
01:38:18    11    what I would say, first, was that there was a comment by the
01:38:21    12    Court that you were disturbed that Mr. Collins had stated that
01:38:23    13    he had contact with his siblings when, in fact, he did not.
01:38:27    14    That was an error. The transcript reveals that the mother had
01:38:31    15    stated that he does, in fact, have contact with the siblings.
01:38:34    16    So the Court had been --
01:38:35    17                THE COURT: But that's not an error. I believe the
01:38:37    18    mother said that the siblings had contact, but the siblings
01:38:40    19    didn't say they had contact.
01:38:42    20                MR. MILNER: I didn't see that in the transcript,
01:38:43    21    your Honor, and if it's there --
01:38:44    22                THE COURT: Well, it's in the Pretrial Services
01:38:48    23    report. We can take a look at it. I don't think it was in
01:38:52    24    error. I think, again, it was what did he tell the Court
01:38:55    25    versus what other individuals told the Court. And of the many



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01:39:00      1   factors that the Court took into account, that was probably
01:39:03      2   the least important of all of the factors, but it certainly
01:39:07      3   did weigh into question his candor with the Court. Okay.
01:39:13      4               MR. MILNER: Understood, your Honor. And let me add
01:39:15      5   this, if I may. And, again, quite humbly, I felt that the
01:39:19      6   discrepancies that the Court and the Government pointed out
01:39:22      7   were of the relatively minor variety.
01:39:25      8               I think this was not a situation where Mr. Collins
01:39:28      9   claimed that he lives with his mother and then we find out, in
01:39:32    10    fact, he does not. He has a completely unrelated address. I
01:39:36    11    think his comments were that he sees her three to four times a
01:39:39    12    week and stays there a couple of nights a week. It turns out
01:39:42    13    he does see her on a weekly basis, but not three, four times,
01:39:46    14    and she denied that he was sleeping there.
01:39:48    15                Again, the fact is she says she knows he sleeps in
01:39:51    16    the area. She knew the South Holland home. Apparently, there
01:39:55    17    is enough family contact that they at least know what's going
01:39:59    18    on in each other's lives, and I just don't want to get too
01:40:03    19    caught up in what I consider to be minor discrepancies.
01:40:06    20                But the most important thing, Judge, when you asked
01:40:09    21    me if there was anything different, number one, in the first
01:40:11    22    detention hearing, what was proposed to the Court was that two
01:40:14    23    properties be posted that had equity, I want to say, of about
01:40:19    24    $50,000, give or take.
01:40:21    25                In this proposal, in the latest motion, we are



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01:40:24      1   proposing that be a five time increase, in other words, we're
01:40:27      2   proposing $250,000 in unsecured property -- or secured
01:40:32      3   property, rather --
01:40:32      4               THE COURT: How much?
01:40:33      5               MR. MILNER: $250,000. And we would clear all of
01:40:38      6   that with the Government, the properties. There's obviously a
01:40:41      7   proper procedure so that we could come back to the Court and
01:40:44      8   tell the Court that, This is all legitimate property, it's
01:40:46      9   been executed properly, in terms of the quitclaim deeds and
01:40:50    10    everything else. And should the Court grant the motion, we
01:40:52    11    would be ready to go. That property would become the
01:40:55    12    Government's.
01:40:56    13                THE COURT: Okay. Let me address your motion in two
01:40:58    14    ways.
01:40:58    15                First, as far as the discrepancy in the family
01:41:02    16    statements to the probation officer and your client's
01:41:07    17    statements to the probation officer, those, as I mentioned,
01:41:09    18    are one of the least significant factors that the Court took
01:41:13    19    into account when I first detained the defendant.
01:41:18    20                And the factors that were much more significant
01:41:21    21    included the seriousness of the offense and that it was a
01:41:24    22    large amount of cocaine. The fact that he was continuing to
01:41:28    23    use cocaine, you know, while he was being arrested.
01:41:31    24                That very big amount of forfeitable property of over
01:41:35    25    $3 million is a significant factor.



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01:41:38      1               Also, his history of his failure to comply with court
01:41:43      2    orders. Aliases and different dates of birth, I think we even
01:41:46      3    had different Social Security numbers, and those all pertained
01:41:50      4    to whether there was a flight risk.
01:41:52      5               And then it was just that coupled with the fact that
01:41:57      6    there were inconsistencies regarding where he is all of the
01:41:59      7    time and the fact that he has no evidence of being employed,
01:42:03      8    no verification of income, other than what would be the
01:42:06      9    illegal income. So those were the more important factors.
01:42:09     10               But now let's turn to the next question, which is
01:42:12     11    that you've posed new property that you believe should give
01:42:18     12    the Court some assurance that he'll appear before me, which
01:42:22     13    doesn't address the dangerousness component. I believe I
01:42:26     14    detained on both grounds and not just the flight risk grounds.
01:42:31     15               So let me hear from the Government.
01:42:32     16               MS. JENKINS: Your Honor, just very briefly, we would
01:42:34     17    continue to seek detention for this particular defendant for
01:42:37     18    the reasons your Honor just talked about, also with regards to
01:42:43     19    the dangerousness grounds.
01:42:44     20               With regard to the property, perhaps it's because
01:42:46     21    counsel has provided some of this information or is aware of
01:42:49     22    these properties, but hasn't shared their specific addresses
01:42:51     23    with us to date -- which certainly he isn't required to do
01:42:54     24    until now. I'm not familiar with who owns these properties,
01:42:59     25    how they came to be owned, if they're owned by the defendant.



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01:43:02      1               I believe, and I could be wrong, but the indictment
01:43:05      2    may list one or two properties as forfeitable either as
01:43:10      3    substitute assets or -- but I frankly don't know whether or
01:43:14      4    not any of the proposed properties fits within properties that
01:43:20      5    the Government has already indicated we would be seeking to
01:43:22      6    forfeit.
01:43:22      7               To the extent that there are any such properties, the
01:43:27      8    Government's position on that would be that the defendant
01:43:29      9    should not be able to post property that he's really going to
01:43:33     10    lose anyway should he be convicted --
01:43:37     11               THE COURT: But that would solely be the ones that
01:43:38     12    were named within the forfeiture count in the indictment.
01:43:42     13               MS. JENKINS: Correct, correct.
01:43:42     14               Aside from any such property, the Government's
01:43:45     15    position would be that we would require some form of showing
01:43:47     16    not only of the property's value, but how they came to be
01:43:51     17    owned, assuming that they're owned by Mr. Collins, or if
01:43:54     18    they're even owned by family members how they came to be
01:43:58     19    purchased.
01:43:58     20               I believe under the Nebia hearing standards, the
01:44:01     21    Government is permitted to inquire as to the source of any
01:44:03     22    funds that would be posted for property. In this case --
01:44:06     23    posted for bond in this case that would relate --
01:44:08     24               THE COURT: Well, I don't disagree with that, and I
01:44:11     25    think a Nebia hearing would be required. But whether or not



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01:44:16      1    it suffices to assuage the Court's concerns regarding
01:44:18      2    detention is another issue.
01:44:20      3               The only property in the indictment is the
01:44:24      4           address. Is that one of the properties you were going
01:44:27      5    to post?
01:44:27      6               MR. MILNER: Judge, it was one of the properties
01:44:29      7    being considered, and I do want to address the properties.
01:44:32      8    But if I may, I might have gotten pulled out of context for a
01:44:36      9    moment through my own fault.
01:44:38     10               When I was advising the Court of the various matters
01:44:40     11    that I was raising anew in this particular motion, I mentioned
01:44:43     12    the $250,000 bond, but I didn't have an opportunity to just
01:44:47     13    mention a couple of other things that are new.
01:44:49     14               THE COURT: Oh, okay.
01:44:50     15               MR. MILNER: And not having been considered
01:44:52     16    previously.
01:44:52     17               THE COURT: Okay. Fair enough.
01:44:53     18               MR. MILNER: Judge, one of the things I wanted to
01:44:55     19    discuss to you about and which I allude to in my motion is our
01:44:58     20    willingness to hire a private security firm. And it doesn't
01:45:01     21    have to be anything all as ominous as some big detective
01:45:03     22    agency. It can be whatever would satisfy the Court, but there
01:45:06     23    are many that I have contact with. And what they basically
01:45:09     24    will do is provide 24-hour security at any particular
01:45:13     25    location, in this case, around the house where Mr. Collins



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01:45:16      1    would be confined to. He would not be able to leave the
01:45:19      2    house. There would be a security firm monitoring him. We
01:45:22      3    would pay for it.
01:45:23      4               THE COURT: So what, the security firm is going to be
01:45:24      5    the custodian, and they're going to report to me if he walks
01:45:29      6    out the door?
01:45:29      7               MR. MILNER: Yeah.
01:45:30      8               THE COURT: And we'll bring all the employees of the
01:45:32      9    security firm here to put under oath and tell them that they
01:45:36     10    are going to be custodians. Is that how you're going to
01:45:39     11    propose it?
01:45:40     12               MR. MILNER: Whenever I come with my good ideas, you
01:45:42     13    guys always do this to me. It actually is a pretty good idea,
01:45:46     14    and I understand it creates a lot of additional work, along
01:45:49     15    the lines of which your Honor is mentioning. But I do think
01:45:52     16    it could be refined and fine-tuned to the point where it
01:45:56     17    wouldn't have to be quite all that complicated.
01:45:56     18               For example, it might very well be possible that all
01:45:59     19    the security people have to do is simply notify the people who
01:46:02     20    monitor the electronic surveillance. Because he would also,
01:46:05     21    of course, be wearing the bracelet.
01:46:07     22               THE COURT: Okay.
01:46:07     23               MR. MILNER: And -- I'm sorry.
01:46:08     24               THE COURT: Don't worry, Ms. Guren [sic]. We'll give
01:46:11     25    you a chance.



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01:46:11      1               Are you done with the security firm proposal?
01:46:14      2               MR. MILNER: Pardon me?
01:46:14      3               THE COURT: Are you done with the security firm
01:46:16      4    proposal?
01:46:17      5               MR. MILNER: I am. It just dovetails --
01:46:20      6               THE COURT: Since Ms. Guren's chomping at the bit --
01:46:21      7               MS. JENKINS: No, no. I don't mean to interrupt. He
01:46:24      8    can finish.
01:46:25      9               THE COURT: Okay.
01:46:25     10               MR. MILNER: This is actually a small additional
01:46:27     11    point too. The other thing I was going to suggest, either in
01:46:30     12    conjunction or as an alternative -- and, again, I am not a
01:46:33     13    techno-proficient guy -- but I'm aware of the availability of
01:46:37     14    webcams, and if we could somehow set that up again in the same
01:46:40     15    way to --
01:46:41     16               THE COURT: That's another creative proposal. I
01:46:46     17    haven't heard that one yet.
01:46:47     18               And then who's going to watch the webcam?
01:46:50     19               MR. MILNER: People that we pay for. Again, it would
01:46:52     20    be the same type of thing. We would hire a licensed certified
01:46:55     21    security firm who would have to come into court, you know,
01:46:57     22    give you their bona fides, and swear on oath to do what they
01:47:03     23    do or else they're held in contempt of court and subject to a
01:47:03     24    crime just like anybody else would be.
01:47:09     25               THE COURT: Okay.



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01:47:09      1               MR. MILNER: That was the end of it.
01:47:10      2               And, Judge, everything else are conditions that I
01:47:14      3    have listed already within my motion and conditions that were
01:47:18      4    made known to the Court previously.
01:47:19      5               THE COURT: Okay. And I've read your motion, okay,
01:47:22      6    so I have all of those as well.
01:47:24      7               Okay, Ms. Guren, do you want to respond?
01:47:25      8               MS. JENKINS: Just briefly, your Honor. I mean, at
01:47:28      9    the end of the day, if home incarceration or home detention
01:47:32     10    with electronic monitoring is not enough to ensure that this
01:47:35     11    defendant is where he's supposed to be and stay where he's
01:47:38     12    supposed to stay, I don't really see how a security firm or a
01:47:41     13    webcam, you know, could really enhance the security or the
01:47:45     14    ability of this defendant to show up.
01:47:47     15               I mean, the truth of the matter is the security firm
01:47:49     16    would have absolutely no ability to arrest this defendant.
01:47:52     17    They would have absolutely no ability to bring him before your
01:47:55     18    Honor and say, Your Honor, he's violated the conditions of
01:47:57     19    bond.
01:47:58     20               At most, he'd have the ability to -- at most, such a
01:48:00     21    firm would have the ability to do something similar to what
01:48:04     22    pretrial does, which is simply bring the matter to the
01:48:06     23    Pretrial Services' attention, at which time Pretrial Services
01:48:10     24    would bring it to your Honor's attention.
01:48:12     25               So, you know, while they are certainly creative



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01:48:14      1    proposals, at the end of the day the Government's position is
01:48:17      2    that if the defendant can't be trusted so that -- such that
01:48:22      3    electronic monitoring with some sort of home incarceration
01:48:25      4    component isn't sufficient, I'm not sure why the expense and
01:48:29      5    additional effort of going through a home security -- or some
01:48:33      6    sort of private security firm would be appropriate.
01:48:35      7               At the end of the day it seems that if there can be
01:48:39      8    conditions that are crafted in the course of the normal
01:48:42      9    pretrial supervision -- a pretrial supervision component of
01:48:47     10    this where if, in fact, he should be let out on bond, which
01:48:51     11    the Government obviously opposes, then that should be
01:48:54     12    sufficient.
01:48:54     13               MR. MILNER: One quick comment, Judge?
01:48:56     14               THE COURT: Sure.
01:48:56     15               MR. MILNER: For the Court's edification, obviously
01:49:00     16    what the security would do in a situation where if Mr. Collins
01:49:02     17    was leaving the house is call 9-1-1. I mean, he would be
01:49:06     18    subject to an immediate arrest. They would have probable
01:49:08     19    cause to believe a crime was being committed. He would be
01:49:11     20    violating the conditions of his bond which is criminal. The
01:49:14     21    second he would leave the house, any law enforcement agency
01:49:16     22    could arrest him. They would simply need to call the local
01:49:20     23    police department. Within three minutes there would be a
01:49:22     24    squad car placing him under arrest.
01:49:24     25               THE COURT: What is the maximum penalty that he's



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01:49:27      1    facing?
01:49:27      2               MS. JENKINS: Your Honor, he's facing life
01:49:30      3    imprisonment.
01:49:30      4               THE COURT: And what is his mandatory minimum?
01:49:31      5               MS. JENKINS: Mandatory minimum of ten years'
01:49:33      6    imprisonment.
01:49:33      7               THE COURT: And does he have an 851 enhancement?
01:49:36      8               MR. MILNER: Not yet.
01:49:37      9               MS. JENKINS: I do not know --
01:49:37     10               THE COURT: Or is he 851 enhancement eligible?
01:49:40     11               MS. JENKINS: He believe he -- I'd have to look at
01:49:42     12    his criminal history briefly. I don't know if Ms. Guren
01:49:45     13    filed ...
01:49:45     14               THE COURT: Oh, and I called you Ms. Guren. Sorry.
01:49:47     15               MS. JENKINS: Oh, that's okay.
01:49:49     16               It appears that he does have a -- he is 851 eligible,
01:49:52     17    which would increase the mandatory minimum to ten [sic] years,
01:49:54     18    based on a 2002 conviction for manufacture/delivery of
01:50:01     19    cocaine. So he would be subject to a twenty-year mandatory
01:50:06     20    minimum.
01:50:06     21               MR. MILNER: Actually, your Honor, the 2002 offense
01:50:08     22    was a not guilty. It's not a conviction.
01:50:13     23               MS. JENKINS: You're correct. I just read the report
01:50:16     24    wrong. I'm not aware of whether or not he has other drug
01:50:20     25    convictions. I just don't know.



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01:50:26      1               THE COURT: His first conviction is for receiving/
01:50:30      2    possessing/selling a stolen vehicle, and he got a DOC sentence
01:50:36      3    at that time. He had a bond forfeiture for that one.
01:50:41      4               The next conviction was for a bond forfeiture. There
01:50:44      5    was a warrant outstanding.
01:50:46      6               And then he had another violation of a bail bond.
01:50:49      7               And then he pled guilty and was sentenced to three
01:50:52      8    more years. This is all when he's very young.
01:50:56      9               He pled guilty to another bail bond and got three
01:51:01     10    years, 1990.
01:51:07     11               He gets a burglary conviction in '90 as well, and
01:51:11     12    another bond forfeiture -- a judgment on the bond forfeiture.
01:51:16     13               He pleads guilty to the sale of a stolen motor
01:51:19     14    vehicle and some traffic offenses, gets another three years,
01:51:25     15    another bond forfeiture.
01:51:30     16               Another bond forfeiture in 1996, six years later.
01:51:35     17               And then he has an interference with some police
01:51:39     18    officers, a misdemeanor, that he gets about 90 days in jail
01:51:43     19    for.
01:51:48     20               And his 2002, he is found not guilty.
01:51:55     21               Four years later, in 2006 -- what --
01:52:00     22               MR. MILNER: In Cook County, Judge --
01:52:02     23               THE COURT: I know. I monitor the Cook County jail
01:52:04     24    case, so I am aware, but --
01:52:05     25               MR. MILNER: They just go on forever.



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01:52:07      1               THE COURT: He was put on bond in May of 2002 and
01:52:10      2    failed to appear in July of '05 and found not guilty in May of
01:52:15      3    '06.
01:52:16      4               But there is numerous aliases and dates of birth, and
01:52:23      5    he was using cocaine when he was arrested.
01:52:27      6               All right --
01:52:29      7               MR. MILNER: Just for the record -- I'm so sorry to
01:52:32      8    interrupt -- just one comment regarding the '02 matter, your
01:52:34      9    Honor, that you brought up a moment ago, the one where it was
01:52:37     10    pending for four years.
01:52:38     11               THE COURT: Right.
01:52:38     12               MR. MILNER: You had mentioned that there was one
01:52:40     13    date where he hadn't shown. There was evidence presented to
01:52:44     14    you -- I believe, and I might be wrong -- in the first
01:52:45     15    detention hearing where that apparently was a mistake. It was
01:52:50     16    an excused absence on his part and his lawyer hadn't been
01:52:54     17    there. I mention that only because as you're aware --
01:52:56     18               THE COURT: Right.
01:52:56     19               MR. MILNER: -- from the arguments presented, he went
01:52:58     20    to court for four straight years every month, never missed a
01:53:02     21    court date. I think it's something important for your Honor
01:53:05     22    to consider simply because that is his very latest brush with
01:53:09     23    the law prior to this.
01:53:09     24               THE COURT: Right. And a more adult interaction with
01:53:12     25    law enforcement as opposed to the teen interaction, right?



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01:53:16      1               MR. MILNER: Yes, your Honor.
01:53:16      2               THE COURT: I recognize that.
01:53:17      3               Well, all of your proposals go to the flight risk
01:53:23      4    component, and they don't satisfy the Court in two significant
01:53:28      5    ways, that he is unemployed, was unemployed, and was using
01:53:33      6    drugs when he was arrested. So we don't have an individual
01:53:39      7    with a healthy tie to the community, as far as his daily
01:53:43      8    interactions. But they do not -- your proposals do not
01:53:48      9    address the alternative ground that the Court detained
01:53:52     10    Mr. Collins on, and that's the danger to the community ground.
01:53:55     11               And this is a presumption case, based upon the amount
01:53:58     12    of drugs. And he's facing the most significant amount of time
01:54:03     13    that he's ever faced in his life, which is a tremendous
01:54:06     14    incentive for some people to leave.
01:54:09     15               And, more importantly, the amount of drugs in this
01:54:13     16    charge are -- show a much more serious offense than the
01:54:19     17    offenses that he's had in his past. The fact that he is now
01:54:24     18    facing that plus the other factors that I've mentioned already
01:54:31     19    don't assure me that there's much to reconsider here.
01:54:34     20               I have to say that there is another concern, which is
01:54:38     21    this tremendous amount of forfeitable property. And the
01:54:43     22    forfeitable property that is -- you know, there's $3.2 million
01:54:50     23    that are subject to forfeiture. And although the one
01:54:56     24    particular house is listed, the language of the forfeiture
01:55:04     25    count says that, It includes, but is not limited to the



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01:55:12      1    substitute asset of that house.
01:55:14      2               So my understanding would be that anything he would
01:55:16      3    try to propose as property would be subject to forfeiture,
01:55:21      4    based upon this allegation.
01:55:23      5               MR. MILNER: Judge, I agree, if the property is his
01:55:26      6    and his alone.
01:55:27      7               THE COURT: Okay. Well -- and you haven't given me
01:55:30      8    any proposal yet, so I don't know what that is.
01:55:32      9               MR. MILNER: Judge, I think my initial feeling was to
01:55:35     10    see if your Honor would be receptive to the amount of the
01:55:40     11    equity, because if your Honor was not, I did not want to
01:55:40     12    create a bunch of extra work for everybody --
01:55:40     13               THE COURT: Understood. Understood. Right.
01:55:42     14    Understood.
01:55:43     15               All right. Well, I don't think that the information
01:55:45     16    you provided -- it was very well done and I appreciate your
01:55:49     17    thoroughness, but it doesn't persuade me that I should change
01:55:52     18    my position.
01:55:53     19               So I'm going to keep him detained. I'm going to look
01:55:57     20    into this issue regarding the prison with McHenry County,
01:56:02     21    something I've never heard before. So that'll be entered and
01:56:06     22    continued, but I will rule by mail on that issue, so I'll just
01:56:09     23    give you a minute order, once I make the phone call.
01:56:12     24               And do we have a status for you next, do you know?
01:56:16     25               THE CLERK: We do.



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01:56:17      1               MS. JENKINS: We do have a status on December 22nd.
01:56:20      2    One other --
01:56:20      3               THE CLERK: That'll be reset, because the pretrial
01:56:23      4    motion schedule has to be extended.
01:56:25      5               THE COURT: Oh, okay. So pretrial motion schedule is
01:56:28      6    being extended, so the 22nd is going to be reset.
01:56:30      7               And what is the pretrial motion schedule, has it been
01:56:32      8    extended already?
01:56:33      9               THE CLERK: Pretrial motions were extended to
01:56:35     10    December 10th. The responses will be due January 8th, replies
01:56:40     11    January 22, and the new status would be February 11.
01:56:43     12               THE COURT: Got it. Okay.
01:56:44     13               MR. MILNER: Your Honor, in light of the fact that --
01:56:47     14    well, not in light of the fact.
01:56:48     15               Would it be possible to have that date extended into
01:56:51     16    very early January for the pretrial motions?
01:56:53     17               THE COURT: Wait, what was the date --
01:56:56     18               MR. MILNER: December 10th and I had requested that
01:56:58     19    date.
01:56:58     20               THE COURT: Right.
01:56:59     21               MR. MILNER: But some time has passed, and there's
01:57:00     22    additional work that I do want to get done --
01:57:00     23               THE COURT: To go through the discovery?
01:57:03     24               MR. MILNER: Yes, ma'am.
01:57:03     25               THE COURT: Yes, I certainly will do that.



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01:57:05      1               So, Ms. Smith, let's start the pretrial motions --
01:57:08      2    when can you get them to me, Counsel?
01:57:09      3               MR. MILNER: First week of January?
01:57:10      4               THE COURT: Okay. Do you want to pick a date for me?
01:57:14      5    Monday is the 4th and then Friday is the 8th.
01:57:17      6               MR. MILNER: The 8th, please, your Honor.
01:57:19      7               THE COURT: Okay. So January 8th. And then that
01:57:21      8    would be responses will be due then on January 22nd and
01:57:24      9    replies January 29. And what would our status be then?
01:57:29     10               THE CLERK: We could still keep February 11.
01:57:32     11               THE COURT: No. We'll move that out to March 12 --
01:57:36     12    or excuse me -- March 11.
01:57:37     13               THE CLERK: March 11.
01:57:38     14               THE COURT: At 1:30 in the afternoon.
01:57:40     15               Do you agree to the exclusion of time while we deal
01:57:42     16    with those pretrial motions?
01:57:43     17               MR. MILNER: Yes, your Honor.
01:57:44     18               THE COURT: Okay. Time will be excluded until then,
01:57:47     19    and I'll look into the McHenry County situation.
01:57:50     20               All right. Thank you.
01:57:51     21               MR. MILNER: Thank you, your Honor.
01:57:51     22               MS. JENKINS: Thank you, your Honor.
01:57:52     23               (Concluded at 1:57 p.m.)
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   5                              C E R T I F I C A T E
   6
   7      I certify that the foregoing is a correct transcript from
   8    the record of proceedings in the above-entitled matter.
   9
  10    /s/April M. Metzler, RPR, CRR, FCRR            December 2, 2009
  11    April M. Metzler, RPR, CRR, FCRR               Date
  12    Official Federal Court Reporter
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